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Defendants.

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res ENTERPRISES INC., - § DIs_MISsAL WITH PREIUDICE
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The parties, by and through their attorneys of record, pursuant to Federal Rule of Civil

Procedure 41(21), hereby stipulate to dismissal With prejudice of this action.

BELIN LAMsoN McCoRMICK ZUMBACH
FLYNN, A Professional Corporatiou

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Roger \1`. §tetson PK00052`94

The Fina;ncial Center

666 Wa-qut Suite 2000

Des Moines, lowe 50309-3989
Telephone: (515) 243-7100
Fax No.: (515) 288-8714

ATTORNEY_S FOR PLAINT]:FF COLLEEN
B[RDNOW BROWN

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DICKINSON, MACKAMA_N, TYLER'&
HAGEN, P.C.

By:%sz§§~¥\) Q-- >*Z£G“b

Helen Adams

1600 Hub Tower

699 Walnut Street

Des Moines, lowe 50309~3986
Telephone: 515/244»2600
Facsimil'e: 515/246~4550

ATTORNEY FOR DEFENDANTS LEE
ENTERPRISES, INC. AND EMMIS
COMMUNICATIONS, lNC.

